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                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA

                                         CIVIL MINUTES – GENERAL

 Case No.       LA CV14-01420 JAK (SSx)                                              Date     May 11, 2015
                LA CV15-02027 JAK (SSx)
 Title          Advanced Advisors G. P. v. Stephen Berman, et al.
                (Consolidated Case LA CV14-01670 JAK (SSx): Louisiana Municipal Police Employees Retirement System v.
                Stephen Berman, et al.)
                The Vladimir Gusinsky Living Trust v. Stephen Berman, et al.




 Present: The Honorable               JOHN A. KRONSTADT, UNITED STATES DISTRICT JUDGE

                    Andrea Keifer                                                   Alex Joko
                     Deputy Clerk                                         Court Reporter / Recorder
           Attorneys Present for Plaintiffs:                          Attorneys Present for Defendants:
                 Laurence D. Paskowitz                                         Peter B. Morrison
                    Jeffrey C. Block                                           Maura B. Grinalds
                                                                               Matthew Umhofer


 Proceedings:               PLAINTIFF'S MOTION FOR PRELIMINARY APPROVAL OF DERIVATIVE
                            SETTLEMENT (DKT. 87, Case LA CV14-01420 JAK (SSx))

                            PLANTIFF'S MOTION TO CONSOLIDATE (DKT. 15, 18)

The motion hearing is held. Counsel address the issues raised by the Court with respect to the issues of
standing and attorney’s fees. The Court states its tentative views that it is inclined to grant Plaintiff’s
Motion to Consolidate (the “Motion”) and grant Plaintiff’s Motion for Preliminary Approval of Derivative
Settlement (the “Settlement Motion”); subject, however, to the attorney’s fees issue to be determined at a
later date. On or before May 18, 2015, Plaintiff shall: (i) file a notice lodging the proposed class notice;
and (ii) file a tentative fee request pursuant to the Court’s Standing Order. Defendant may file a response
no later than May 26, 2015, which shall attach a redline of any disputed language. The Court takes the
Settlement Motion and Motion UNDER SUBMISSION and will issue a ruling upon receipt of the parties’
submissions.

Plaintiff shall lodge a proposed order consistent with the Court’s ruling.

IT IS SO ORDERED.
                                                                                                        :     09

                                                                 Initials of Preparer    ak


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